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                         UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF NEWYORK




UNITED STATES OF AMERICA,
                                        Civil No. 5:25-cv-904 (DNH/ML)
                  Plaintiff,
            v.
                                        CONSENT DECREE
BRISTOL-MYERS SQUIBB COMPANY, et al.,
                  Defendants.
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                                              Digitally signed by JOHN
                                              HOGGAN
                            JOHN HOGGAN       Date: 2025.07.10 15:53:47
                                              -04'00'
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                    General Counsel
                    c/o Carrier Corporation
                    13995 Pasteur Boulevard
                    West Palm Beach, FL 33418
                    561-365-2000
                     Legal.Notices@Carrier.com




                    Same as above
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                    Same as above
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                   Signature Page for Bristol-Myers Squibb Consent Decree


                                    FOR _______________________________


       _________                   __________________________________
       Date                        Name ____________________________
                                   Title ____________________________
                                   Address __________________________
                                   __________________________________

If the Consent Decree is not approved by the Court within 60 days after the date of lodging,
and the United States requests, this Settling Defendant agrees to execute a waiver of
service of a summons under Rule 4 of the Federal Rules of Civil Procedure and any
applicable local rules of this Court. This Settling Defendant hereby designates the agent
below to execute the Rule 4 waiver of service. This Settling Defendant understands that it
does not need to file an answer to the complaint until it has executed the waiver of service
or otherwise has been served with the complaint.

              Name:          __________________________________
              Title:         __________________________________
              Company:       __________________________________
              Address:       __________________________________
                             __________________________________
              Phone:         __________________________________
              Email:         __________________________________

For Notices Under Paragraph 39 if different from above:

              Name:          __________________________________
              Title:         __________________________________
              Company:       __________________________________
              Address:       __________________________________
                             __________________________________
              Phone:         __________________________________
              Email:         __________________________________
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